Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.365 Filed 03/02/11 Page 1 of 35

MICHAEL DUPREE, SR.
DEPOSITION TRANSCRIPT
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.366 Filed 03/02/11 Page 2 of 35

Page 1
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

MICHAEL DUPREE, JR., Case No.
a Colorado Resident,

MICHAEL DUPREE, SR., 2:10-CV-12094-LP2-MKM

and DARLENE DUPREE, his parents,

Residents of the Country of Austria,
Plaintiffs,
vs.

CRANBROOK EDUCATIONAL COMMUNITY,

Meee ee

JOHN J. WINTER, and CHARLES SHAW,

Defendants.

The Deposition of MICHAEL DUPREE,
SR., a Plaintiff in the above-entitled cause,
taken by Shari J. Pavlovich, CSR-5926, Certified
Shorthand Reporter, Registered Professional
Reporter, Certified Realtime Reporter, and Notary
Public for the County of Wayne, acting in the
County of Macomb, State of Michigan, at 24825
Little Mack, St. Clair Shores, Michigan, on
Tuesday, December 14, 2010 commencing about 2:06
p.m., pursuant to the Federal Rules of Civil

Procedure.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.367 Filed 03/02/11 Page 3 of 35

24

25

we

10 P10 >

eB 10

FP OO FF O fF DO F OD

10

O

i

each one of them?

Did you obtain an undergraduate degree?

Yes.

Where did you get your undergraduate degree from?
University of Florida.

What year would that have been?

1969.

Do you have a law degree?

Yes.

What year did you get your law degree?

1972.

Have you ever practiced law?

Yes.

When did you last practice law?
Approximately 1976.

Are you currently a member of any state bar?
Yes.

What states?

Florida.

Have you ever been a member of the Michigan bar?
No.

How old is Michael?

I think he's 25.

Do you know his date of birth?

Yes.

Page 9

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.368 Filed 03/02/11 Page 4 of 35

Page 10
1 Q What is it?
2 A August 27th, 1985.
3 0 And what's Matthew's date of birth?
4 A September 16th, 1988.
5 QO When did Michael commence going to school at
6 Cranbrook?
7 A In his freshman year. I think that was the year
8 2000. :
9 QO And where was he previously at school just before :
10 that? |
11 A Edlin and it's a private school in Virginia.
12 © Were you living in Virginia at the time?
13 A Yes.
14 Q And so did you relocate for work here in Michigan?
15 A Yes. :
16 Q And you would have been working for General Dynamics
17 at the time?

18 A Yes.
19 Q Okay. And when Michael enrolled at Cranbrook in
20 2000 did Matthew also enroll at the same time?

21 A Yes.

22 Q And do you remember, Mr. Dupree, when you originally
23 enrolled both your sons at Cranbrook, did you sign
24 enrollment agreements for both of them?

25 A Yes. Either my wife or I signed them. I think I

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.369 Filed 03/02/11 Page 5 of 35

24

26

Page 12

That's what it says, yes.
This is the enrollment agreement for your son to
attend Cranbrook for his senior year, which would
have been academic year 2003-2004; correct?
Yes.
Now, in this lawsuit you have a number of
claims; correct, Mr. Dupree?
Yes.
One of the claims is a breach of contract claim;
correct?
Yes.
And so what I want to talk about now briefly is your
breach of contract claim so I can get a full
understanding of your breach of contract claim.

Beyond the enrollment agreement, are
you claiming there are any other documents that
constitute the contract that you're claiming
Cranbrook breached?
Not that I can think of at this moment.
Okay. And during the time your sons attended
Cranbrook did you ever receive copies of the student
handbook?
May we go back to that last question?

MR. LINDEN: You want to read back my

last question preceding that question?

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.370 Filed 03/02/11 Page 6 of 35

24

25

Page 13]

(Record repeated.)
THE WITNESS: Okay. I do want to --
there are -- is a couple others, I think, that are

relevant. And that is each of the school years
since his enrollment, to me all are contracts while

he was there. They're all relevant.

BY MR. LINDEN:

Q

All right. And let me explore it a little bit
further, just so the record's clear in that regard.
When you talk about each of the years, we're talking
about your son Michael started attending Cranbrook
school year 2000-2001; correct?

That's correct.

And for that school year you signed an enrollment
agreement just like Exhibit 1; correct?

Yes.

And each of the years that Michael attended you
signed an enrollment agreement just like

Exhibit 1; correct?

Yes.

And so what you seem to be suggesting, Mr. Dupree,
and I want to just make sure we're both on the same
page, you are now saying that all those agreements
in their totality constitute the contract. Is that

what you're saying?

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.371 Filed 03/02/11 Page 7 of 35

24

25

Page 14
A Yes, also.

Q Okay. So beyond the enrollment agreements for each

of the years that Michael attended, are you claiming

any other documents constitute or provided a basis

for a contractual claim?

A Not that I can think of.

Q Thank you. So one of the questions I asked you
before we went back was whether or not you ever
received copies of the student handbooks while your
sons were enrolled at Cranbrook.

A Yes.

Q Do you recall if you would have received copies for

SE ee

each of the school years in which Michael was

ee

enrolled?
A I think so.
Q Do you remember if you would have received a copy of |

the school handbook for the last year he attended,
which would have been school year 2003-2004?

A Yes.

Moa

(Deposition Exhibit Number 2 was
marked for identification.)
BY MR. LINDEN:
Q All right. I'm now going to put in front of you,
Mr. Dupree, what the court reporter has marked as

Exhibit 2, which for purposes of identification, the

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.372 Filed 03/02/11 Page 8 of 35

24

25

10 mw 10 2

Page i7
referencing, yes.
All right. So if we could, Mr. Dupree, let's talk a
little bit more about Exhibit 2, this community
handbook.
sure.

So did you get a copy of the community handbook each

year that your sons were enrolled at Cranbrook?
To my recollection, yes.
And did you ever have an opportunity to review the

community handbook?

Yes.

Okay. And were you aware before Michael had his.
problems resulting in us being here today that there
was a code of conduct governing students’ behavior
at the school?

Yes.

Let's talk a little bit more briefly about your

breach of contract claim so that I can sort of

understand it. |

So you're claiming that Cranbrook

breached the enrollment agreement; correct?

Yes.

Okay. How did they breach the enrollment agreement?

By specifically dismissing him from Cranbrook.

Now, during the school year 2003-2004, was it ever

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.373 Filed 03/02/11 Page 9 of 35

24

25

Page 22

handbook for 2004-2005 because your son Matthew was
still going to school there?

That's -~- now that you've said that, that's exactly
why.

Let's talk about Deposition Exhibit Number 3. So
you recall receiving this sometime around its date,
March 12, 2004?

Sometime after March 12th, yes.

And it was letting you know, among other things,
that Michael was being charged with violating the
code of conduct by -- as a result of his having in
his possession a marijuana pipe; correct?

Yes.

And it lets you know that there was a conduct review
board hearing with respect to that allegation;
correct?

Yes.

And it lets you know that the conduct review board,
after conducting the hearing, made a determination
as to the nature of the discipline that they were
meting cut; correct?

Yes.

And this letter lets you know that among the
discipline being imposed against Michael at that

time was that he was being placed on conduct

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.374 Filed 03/02/11 Page 10 of 35

24

25

Oo PF ©

Page 25 |
what happened at that board other than what Michael
might have told you; correct?

That's correct.

Did you ever ask Michael about the nature of that
allegation?

Which allegation?

The allegation about his having in his possession a
Marijuana pipe.

Yes.

And when did you ask him about it?

I don't recail.

Was it -- did you ask him about it while he was
still enrolled at Cranbrook?

Yes.

And what did he tell you about the allegation?

I don't recali.

Let's switch gears for a moment. After Michael was
dismissed from Cranbrook, as I understand it, he
obtained his GED?

Yes.

Do you know when he obtained that?

Yes. It was right after. By June 1st, June énd,
June 3rd. I had called to see when they had a test
available that he could take. And they gave me that

date. So I remember taking him for that test.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.375 Filed 03/02/11 Page 11 of 35

Page 26
1 QO All right. So when we talk about June, we're
2 talking about June of 2004?
3 A June of 2004, that’s correct.
4 Oo And so he took the GED test immediately after you
5 found out he was being dismissed by Cranbrook?
6 A Yeah. Might have been the first -- within the first
7 two weeks, I recollect that, of June.
8 0 And since he obtained his GED, besides attending the
9 University of Denver, has he attended any other
10 colleges?
11 A Yes.
12 Q What other colleges, Mr. Dupree, has he attended?
13 A Maybe not in exact order. Cabot Coilege in
14 California, California State University in
15 Sacramento, Cabrio College, University of California
16 Santa Barbara, and then the University of Denver.
17 One other, too. Purdue, his first one.
18 Q Did he ever attend a coliege by the name of Las
19 Positas?
20 A Yeah, you know, that and Cabot College are the same.
21 Q So the first college he would have attended after
22 getting his GED was Purdue?
23 A That's correct.
24 oO Now, was he accepted at Purdue before he was

25 dismissed from Cranbrook?

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.376 Filed 03/02/11 Page 12 of 35

24

25

i

mw 10

Page 27
Yes.
How long did he attend Purdue for?
To about the end of October 2004.
And do you know why he stopped attending Purdue?
Yes, I do.
What was the reason?
Ke got -- he was sick. And I forget exactly what

the illness was but I went to the Purdue -- I
discussed it with Purdue and they said that they
would let him withdraw because his illness was such
that it was -- they were willing to let him
withdraw.

So there's several other schools he attended before
his current enrollment at the University of Denver.
So these other colleges, Cabot, California State at
Sacramento, University of California at Santa
Barbara, all these other schools you enumerated, why
did he drop out of those schools, if you know?

Well, I don't think -- I think that's the wrong
characterization. He didn't drop out of them. I'll
start with he wanted to go to a four-year college.
So he went from Las Positas, or whatever it is, to
California State in Sacramento. He didn't like
California State.

He wanted to live more in southern

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.377 Filed 03/02/11 Page 13 of 35

Page 49
you guys is ~- was what they were. :
All right. Speaking of providing, are you aware
that Cranbrook has produced documents in this case?
Yes.

Have you seen any of those documents?

Yes.

And among the documents that have been produced in
this case, included an investigation that Cranbrook
did pertaining to the computer ailegation; correct?
I had a cursory lock at that. I hadn't had a chance
to look at it thoroughly. I just arrived.

So let's come back to these conversations with

Mr. Shaw. So your recollection, Mr. Dupree, is you
had from three to six phone conversations with him?
Um-hmm, yes.

Thank you. Do you recall if at any of those
conversations Mr. Shaw let you know that they were
going to treat Michael's departure from school as a
withdrawal as opposed to a dismissal?

That's what he was saying, yés.

What do you remember him saying?

He was saying we're going to do you a favor and
we're going to show him as withdrawing. And I had
alerted him that -- I had sent him an e-mail, as

well as to Arlyce that Michael steadfastly has

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.378 Filed 03/02/11 Page 14 of 35

Page 50

refused to withdraw. Did not withdraw. And they
nad no right to say that he is withdrawing.

Now, at the time of these conversations with

Mr. Shaw that you just briefly described for us, he
had already been accepted to Purdue University;
correct?

He had. But whether it was still acceptable was
still in the air.

Well, let's come back to my question. You would
agree with me at the time you had these
communications with Mr. Shaw where he explained to
you that they were going to, as you put it, do you a
favor and characterize his departure as a
withdrawal, Michael had already been accepted to
Purdue; correct?

Yes. Yes, yes, yes, yes.

What conversations, if any, do you know that
Cranbrook had with anybody at Purdue about Michael's
status after he was dismissed?

I recollect that Charlene Rencher, I believe, had a
conversation with them.

Okay. Now, when you say Charlene Rencher, she was a
counselor at Cranbrook?

Yes.

And how do you know Charlene Rencher may have had a

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.379 Filed 03/02/11 Page 15 of 35

24

25

Page 54

Yes.

And Michael successfully enrolled at Purdue at the
beginning of the fall academic year 2004-2005;
correct?

Yes.

So obviously in light of that, the withdrawal
designation on his transcript did not prevent him
from enrolling; correct?

Yes.

Besides conversing with Ms. Rencher on the phone,
did you ever send her any e-mails?

I don't recall.

Now, you testified earlier on when I asked you about
what would be denoted for the record, I was asking
you questions about Deposition Exhibit 3, which is
the March 12, 2004 letter, that letter indicated,
among other things, that Michael was on probation
through June 4th, 2004 and that he could be
dismissed for any further major rule violations or a
series of minor rule violations; correct?

Yes.

And you would agree, Mr. Dupree, you received notice
that Michael was being dismissed on -- in a letter
dated June 1, 2004; correct?.

Yes.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.380 Filed 03/02/11 Page 16 of 35

Page 58

l Q You can't recall whether or not you actually did
2 meet with her?
3 A I know we met with her prior to June the lst and I

4 can't remember whether we met with her right after

5 June the lst. I think we did but I just don't

6 recall.

7 Q Do you know if your wife met with anybody at |
8 Cranbrook about your son's dismissal in June of

9 2004?
10 A No. If we met, I think we met together.
11 Q You would agree, Mr. Dupree, that your son got
12 accepted to a number of colleges or universities,
13 notwithstanding the fact that the transcript
14 indicates he withdrew from Cranbrook; correct?

15 A Yes.

16 Q And isn't it true he was accepted to approximately
17 nine colleges?

18 A I don't think that many. But certainly half a

19 dozen.

20 Q Well, let me ask you this, to maybe nail down the

21 number: Have you seen the Answers to the
22 Interrogatories that have been submitted on your
23 behalf?

24 A Yeah.

25 Q All right. So let's just talk about that. And

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.381 Filed 03/02/11 Page 17 of 35

24

25

Page 60}

there?

Yes.

Why?

He was living in Santa Cruz at the time and there
was -- he was accepted to University of California
Santa Barbara and Santa Cruz and he chose Santa
Barbara.

Why did he elect not to attend the University of
Colorado, if you know?

He wanted to stay in California at the time.

All right. So you would agree, all of the schools
we've just talked about, with the exception of
Purdue, he was accepted after Cranbrook issued the
transcript noting withdrawal; correct?

Yes.

Now, there were some schools he was rejected to. that
he applied to; correct?

Yes.

All right. So let's talk about those schools for a
moment. He applied to Babson. Are you aware of
that?

Yes.

He applied to Babson while he was still enrolled at
Cranbrook; correct?

Yes.

|

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.382 Filed 03/02/11 Page 18 of 35

24

25

Page
Yeah, as I understand it.
And then you also found out Cranbrook's position was
that he committed another offense, violated their
technology use policy, among other things, and they
ultimately dismissed him for that?
tT never understood that position.
Well, did anybody at Cranbrook tell you why your son
was being deemed to have violated the terms of his
prebation?
Yes.
And you testified earlier that you -- in fact, you
and your son met with John Winter and he told you,
among other things, that there was some kind of
computer scam that they believed your son was
involved in?
That's correct.
So Cranbrook let you know, did it not, that there
were at least two instances where they felt --
putting aside what you might have believed, they
felt that he had violated their rules; correct?
Yes.
And you also indicated, Mr. Dupree, that Charlie --
Charles Shaw, after you received the letter of
dismissal in June of 2004, told you that he thought

he was doing you -- the school was doing you a favor

69

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.383 Filed 03/02/11 Page 19 of 35

24

25

Page

by noting that your son had withdrawn from school as
opposed to being dismissed; correct?
Yes. Only after I had asked him how you could --
how you could say he was withdrew when he never
withdrew.
Okay. But you would agree, Cranbrock had taken the
position, they let you know by virtue of Exhibit 5,
which is the June 1, 2004 letter, that they were
dismissing your son from school; correct?
After he completed school, yes.
Well, let's come back to my question. We'll explore
what you just wanted to add there.

You would agree with me that the
June 1, 2004 letter indicates as of that date,
Cranbrook was dismissing your son from school?
Yes.
And you had indicated a moment ago that you -- your
son was going through some embarrassment explaining
his situation to schools that were considering him

for admission; correct?

Yes.
And I sort of gather -- and I don't want to put
words in your mouth -= that part of the

embarrassment that your son was subjected to was the

fact that his transcript indicated that he withdrew

70

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.384 Filed 03/02/11 Page 20 of 35

Page 71

1 from school; correct?

2 A Yes. He had to explain why they had withdrew on

3 there and what it was.

4 ° All right. Now, were you present during the time

5 your son met with any of these admissions officers

6 at any of these colleges?

7 A No.

8 C So for example, you don't know whether or not your

9 son shared with them anything about the two conduct
10 review board hearings that he was subjected to?

il A No, I do not.

12 Q Okay. And I want to explore something because

13 there's been a couple times now in your testimony

14 you've sort of explained, I believe, your position
15 being that you felt that Cranbrook could not dismiss
16 your son as of June 1, 2004? That they could not

17 dismiss him as of June 1, 2004?

18 A That's correct.

19 Q IT want to understand your position in that regard.
20 How do you come to that conclusion?
Zi A Because he had already completed ali of the
22 requirements to graduate as reflected on his
23 transcript, which I hadn't seen. But when I look at
24 this transcript -- but at that time, he had

25 completed all of the requirements to graduate.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.385 Filed 03/02/11 Page 21 of 35

Page 72

And when you talk in terms of requirements to
graduate, what do you mean by that?

I think the school systems in Michigan have
requirements to -- that if you achieve, you
graduate, and you'd receive a diploma. Once you
receive those, once you've completed those, then
you've met those requirements and are entitled to a
diploma.

Okay. And Mr. Dupree, what's your basis for that
understanding?

Common sense, one; Number 2, if you look at most of
definitions of what -- what graduation means, that's
how it's defined.

Okay. So based on your understanding of common
sense, you are of the opinion that as of June l,
2004 Cranbrook could not dismiss your son?

Well, according to enrollment agreement and the
definitions that are attached to it, are relating to
financial aid, they define what the school year is.
They define what withdrawal is. They define what
graduation is.

Let's talk about the enroliment agreement, which is
Exhibit 1. All right. So let's go to section one
of the enrollment agreement, which is Exhibit 1.

Ckay.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.386 Filed 03/02/11 Page 22 of 35

Page 73
Section one is entitled conditions of enroliment;
correct?
Yes.
And you indicated earlier on, you signed this
enrollment agreement for school year 2003-2004;
correct?
Yes.
And it indicates, among other things, that -- I'm

looking now at fourth paragraph under section one,
that you specifically understand and agree that the
school reserves the right to dismiss Michael at any
time if, in the judgment of the school, Michael's
health, efforts, progress, behavior, or influence is
unsatisfactory or his account is past due; correct?
Yes.

And if you look at the last paragraph in section
one, it also says that you understand that Michael
will be responsible to abiding to the policies and
procedures stated in the school's handbook; correct?
Precisely.

All right. And the school's handbook would be
Exhibit Number 2?

Right.

Correct?

Yes.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.387 Filed 03/02/11 Page 23 of 35

24

25

Page 74
Okay. And again, you knew as of March 12, 2004,

which is Exhibit 3, that the school was letting you
and Michael know that through June 4th of 2004 that
he was on probation; if he violated the terms of
those probations, he would be dismissed?
Yes.
Okay. Now, let's switch gears for a moment. You
have about a half dozen claims in this lawsuit;
correct?
Yes.
Okay. One of the claims is fraud and
misrepresentation. Are you aware cf that,
Mr. Dupree?
Yes.
Could you tell me in your own words what your fraud
and misrepresentation claim is?
As to the misrepresentation, the 2003-2004 handbook
dees not specifically state -- in fact, it's very
clear that in my reading of it, that the ~-- oh,
let's see where I find it. Right here.

That under the highlights of the
Cranbrook school's technology use policy, that
providing -- sharing your password with another
person is only a violation of that policy which

consequences is that they can suspend your right to

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.388 Filed 03/02/11 Page 24 of 35

Page 75
1 use their computers at Cranbrook.
2 Q Doesn't the preamble to that policy indicate that
3 it's not all inclusive?
4 A I don't recollect if that's what it says.
5 Oo Let me direct you to it.
6 A Okay.
7 Q If you go to Page 93, which should be, for the
8 record, CBO000763, you see above the last sentence
9 where it says:
10 "The actions listed comprise a
ll non exhaustive list of violations of
12 the school's policy on the use of its
13 technological systems."
14 A Um-hmm. Yes.
15 QO Okay. All right. So what else are you claiming
16 supports your claim of fraud or misrepresentation?
17 A Well, it's very clear, Cranbrook said that he was
18 being dismissed for major rule viciation. And when
i193 J had talked to Mr. Winter about it during this one
20 meeting, he specifically said that he had committed
21 a major rule violation.
22 And I said, there's nothing in -- and
23 in fact, the community handbook for 2003-2004
24 specifically states nothing that -- giving the

25 password is a major rule violation and that you

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.389 Filed 03/02/11 Page 25 of 35

A

Page 77

Well, let's see, what other ~~ misrepresentation and
the fraud would be on the transcript. When I told
them clearly from the very beginning when I first
heard that they were going to put withdrawal on
that. I said, it's fraudulent for you to do it.

Several times since that time I --
when they sent the transcripts to other schools, not
just Purdue, when they received at University of
California Santa Barbara, when they were received at
University of Colorado, it was stamped withdrawal on
it.

I had called Cranbrook again and
again, and I even had my lawyer notify them that
this was fraud for them to misrepresent and it was
fraudulent for them to transport this through the
interstate commerce and say that he had withdrawn
when he had not.

Okay.

And they need to cease and desist it.

Okay. So let's talk about this aspect of your fraud
and misrepresentation claim. You knew in advance of
receiving the transcript that Cranbrook was going to
put on the transcript that your son had withdrawn
from school; correct?

I knew it and I continuously objected to it.

k:

Sennieent tenet te te

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.390 Filed 03/02/11 Page 26 of 35

Page 78

I appreciate the fact that you objected to it.
Let's come back to my question because I want the
record to be clear.

Okay.

You would agree that you knew prior to you receiving
your son's transcript that Cranbrook was going to
put on the transcript that he had withdrawn?

Yes.

Did you ever give any written notice to any of the
schools that your son applied to that you were
contesting the notation of withdrawn on his
transcript?

Wait. I did not actually know until I saw the
transcript that they were actually going to put
withdrawal on there. Because even when I saw it,
even then I said well, you know, maybe they really
don't mean this because, back to your earlier
comment, when you said, you know, it's kind of --
we're not sure where it is.

Right.

I just could not believe that they were actually
putting it. That's the first time I really honestly
knew that they were going to put it on the
transcript, even if it was unofficial.

Because I remember my wife and I

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.391 Filed 03/02/11 Page 27 of 35

Page 79]

1 having that. She says, well, maybe that's just an

2 unofficial copy. But it's going to be the official

3 one they're going to show.

4 Q But you've testified today that you had

5 conversations with Charlene Rencher and Charles Shaw

6 prior to receiving the transcript in which you

7 talked about the fact that the transcript was going

8 to have the notation withdrawn on it; correct?

9 A Well, yes, I did say that. But I'm not sure that we
10 were talking about the transcript. They were saying
il they were going to indicate on his records that he
12 withdrew. I might not remember with clarity that it
13 was -- that that was the transcript at the time. It
14 was -- I knew it was the records.

15 Q Okay. So regardless, you do recall that somebody

16 from Cranbrock told you in advance of your receipt
17 of the transcript that Michael's records were going
18 to reflect that he had been withdrawn from school?
19 A That's correct.

20 MR. LINDEN: Let's take a break for a
21 moment.

22 (Short recess taken at 3:55

23 p.m.)

24 (Back on the record at 4:04

25 p.m.)

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.392 Filed 03/02/11 Page 28 of 35

Page

BY MR. LINDEN:

Q

In the school year 2003-2004, did you ever
participate in Cranbrook's tuition refund program?
I was aware of it but it didn't -- I read through it
but I did not participate in it.

So coming back to a complete understanding of your
fraud and misrepresentation claim, other than what
you've already explained, what else supports your
claim of fraud and misrepresentation?

At this time I can't recall any other things.

Okay. Now, are you aware another one of your claims
in this case is mail fraud?

Yes.

Okay. And what are the facts supporting your mail
fraud claim?

The transmission of the transcript to colleges
indicating that he withdrew is a violation of Mail
Fraud Act.

When did you first find out that Cranbrook was
transmitting that transcript with the withdrawal
notation on it?

When I checked into the -- when he first applied --
I know one of the times when I applied to the
University of Colorado and I had them -- I had

called the University of Colorado and to ask them if

80 |

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.393 Filed 03/02/11 Page 29 of 35

Page 83

1 college education?
2 A Yeah. I think it was in the spring or summer of |
3 2005. He took one course at either that Las |
4 Positas. It's a community college. California
5 State Cabrio or Las Positas.
6 Q And with respect to the transmittal of Michael's |
7 transcript from Cranbrook after he was dismissed,
8 did he request that transcript to be transmitted to
9 these colleges? i
10 A I would say the colleges required him to have them
il sent.

12 Q And so he went about doing whatever he had to do to

13 have the transcripts sent?

14 +A That's correct. Now, just to clarify, I could have

15 done that for him. He could have said hey, dad, can

16 you call Cranbrook and ask them to forward the

17 transcripts or apply to them to do that? I would

18 say yeah, if he had asked me.

19 QO But he never asked you?

20 A I think he probably did on a couple of occasions.

21 Whether it was those, I don't know. But there was a

22 couple of the colleges that -- I talked to somebody

23 at Cranbrook to send that I was sending a request

24 for transcripts to be sent.

25 Q So there were a couple of colleges, you can't recall

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.394 Filed 03/02/11 Page 30 of 35

oO Fr DH FP

Page 84
specifically which colleges they were, that you |
contacted Cranbrook on your son's behalf --
Yes.

-~ and authorized them to send his transcripts to |
those colleges?
I had no

Yes. With withdrawn on it and all.

choice.

Do you know if your son ever provided any of the

colleges he applied to a written explanation as to
his contentions about the withdrawal status on his
transcript?

I can't speak to that.

Did you ever do so on your son's behalf?

No.

Did you ever have anybody do that on your son's
behalf?

No.

So again, in sum, your mail fraud claim consists of
your allegation that Cranbrook transmitted Michael's
transcript to all these various colleges he's
applied to?

Knowing it was fraudulent, yes.

Did you ever instruct Cranbrook not to send the
transcripts anywhere?

Yes.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.395 Filed 03/02/11 Page 31 of 35

Page 85 |
1 Q Who did you instruct at Cranbrook not to send the
2 transcript?
3 A No. I didn't instruct them not to send it. I told
4 them to correct the transcript. |
5 Q All right. But my question was: Did you ever
6 instruct anybody at Cranbrook to not send Michael's
7 transcript to any college that he applied to?
8 A No. |
9 Q Do you recall whether either you or your wife ever
10 signed a permission to release Michael's educational
11 records from Cranbrook?

12 A Oh, I would have done that. If I was asked, yeah, I

13 would have done that. If it was on his behalf and
14 something he wanted me to do, yes.

15 Q All right. Now, you also have a claim for wire

16 fraud in this case?

17 A Yeah. Yes.

18 Q Let's -- Mr. Dupree, let's just talk briefly about
19 that. So what are the facts that support your wire
20 fraud claim?

21 A I thought that's what we just went through.

22 Q No, we were talking about mail fraud.

23 A The wire fraud is the same thing, transmitting -- as
24 they would say, it could be wireless now, but the

25 same basis. Through the U.S. mails or through other

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.396 Filed 03/02/11 Page 32 of 35

Page 86
1 means.
2 QO All right. And again, the fraud is, from your
3 position, the fact that the transcript notes
4 withdrawn; correct?
5 A Yes.
6 Q All right. And you also have a claim for extortion?
7 A Yes.
8 Q So tell me, what are the facts that support your
9 extortion claim?
10 A Mainly Dean Winter, -- let me think about this for a
11 second,
12 Q Take your time.
13 (Witness conferring with attorney.)

14 BY MR. LINDEN:

15 Q Let me interrupt, Mr. Dupree. You're going to have
16 to remember this. If you need to take a couple

17 minutes to think about it, be my guest. But you

18 can't consult with your attorney and try to

19 remember.

20 A All right.

21 Q Do you remember what the facts are to support your
22 extortion claim?

23 A Not at this time.

24 Q Are you familiar with the RICO statute?

25 A I'm aware of the RICO statute, yes. I'm not that

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.397 Filed 03/02/11 Page 33 of 35

Page 87

1 specific to its terms.

2 O Do you have a RICO claim against Cranbrook and

3 Mr. Winter, Mr. Shaw in this case?

4 A Yes.

5 Q Can you tell me what the facts are to support your

6 RICO claim against my clients?

7 A Not at this time.

8 MR. SCIOTTI: I should note for the

9 record that I prepared the Complaint. I signed the
10 Complaint. He did not.
11 MR. LINDEN: Thank you. I appreciate
12 that.
13 BY MR. UINDEN:
14 Q But you indicated earlier on in your deposition, you
15 reviewed the Complaint at some point; correct?

16 A Yes.

17 QO Did you review it before it was filed?

18 A I leoked at it -- did I review it -- yes. I

19 reviewed a draft of it.

20 Q What, if anything, did you do to prepare for today's

2i deposition?

22 A I -- last night for about an hour and a half I

23 reviewed the files that you -- that Cranbrook

24 provided, the documents that Cranbrook provided and

25 I looked over the -- some of the Interrogatories. I

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.398 Filed 03/02/11 Page 34 of 35

24

25

PO FF ©

Page 90

the time that Ali supposedly had this discussion
with Dean Winter?

No.

Did he indicate, that is Ali, when he supposedly had
this discussion with Dean Winter?

Yeah. This was in June. I recollect that he had
been asked by Dean Winter the same types of
questions in May.

Now, with respect to the conduct review board
hearing that took place in March of 2004, which
resulted in Michael being placed on suspension, are
you aware of what Michael might have told the
conduct review board about his use of marijuana?
No.

Okay. Did anybody at Cranbrook ever threaten you or
Mrs. Dupree with criminal prosecution?

No. I'm trying to think when we met with Shaw and
Winter and I forget the other guy's name. She'll
remember. My wife will remember.

Pickett?

Yeah, Pickett, thank you.

You're welcome.

There was that -- I vaguely remember they were
talking about how this was a serious offense and

could have criminal implications. But. your question

rss:
SE ee PTI
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-20, PagelD.399 Filed 03/02/11 Page 35 of 35

24

25

10 Bm 30

Page 97

ever seen written studies in that regard?

I know what you're talking about and I looked at the
study that that was referencing, yes.

What would that study be, Mr. Dupree?

I don't recall the name of it now.

Do you have a copy of that study somewhere?

No.

With respect to the colleges that your son got
rejected from, is it your position he was rejected
by those schools because he had a GED?

IT can't say with specificity that it was, no.

Okay.

The fact that he has a GED will follow him through
all his life as opposed to receiving the diploma.
Well, let's talk about that for a moment. You would
agree with me that he got accepted to ail the
colleges we talked to, notwithstanding the fact that
he got a GED and not a diploma; correct?

Yes.

And as you already indicated, you don't know whether
or not the fact that he got a GED was a factor as to
why he was rejected by the colleges he was rejected
by; correct?

Yes.

Did either you or your wife take notes or prepare

